             Case 2:21-cv-00920-JLR Document 59 Filed 10/13/23 Page 1 of 3



 1                                                THE HONORABLE JAMES L. ROBART
 2

 3

 4

 5

 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7
                                      AT SEATTLE
 8

 9    AUBRY MCMAHON,
10                                                   CASE NO. 2:21-CV-00920-JLR
                     Plaintiff,
11                                                   SECOND DECLARATION OF
             vs.                                     SHANNON OSBORNE
12
      WORLD VISION, INC.
13

14                  Defendant.

15

16

17
            Shannon Osborne declares:
18
            1.     I have personal knowledge of the facts stated in this declaration and am
19

20   competent to testify to those facts.

21          2.     I am the Director—Contact Center Operations at World Vision, Inc.
22   (“World Vision”) and have been so employed since January 4, 2012.
23
            3.     This, my second declaration, the Second Declaration of Shannon
24
     Osborne, is denoted “SO2” herein and in the accompanying Defendant World Vision’s
25

26   Opposition to Plaintiff’s Renewed Motion for Summary Judgment (Round 2). This follows

27   the same system used for all Declarations in the briefing on summary judgment. The
       SECOND DECLARATION OF                   Page 1            Ellis | Li | McKinstry
       SHANNON OSBORNE                                           1700 Seventh Avenue, Suite 1810
                                                                 Seattle, WA 98101-1820
       CASE NO. 2:21-CV-00920-JLR                                206.682.0565 Fax: 206.625.1052
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 1   World Vision unit known as Donor Contact Services continues to be abbreviated as
 2
     “DCS,” and DCS Representatives as “DCSRs.”
 3
           4.       World Vision currently has 1,009 employees, only 76 (or 7.5%) of whom
 4

 5   are part of DCS, and about 60 (or 5.9%) of whom handle inbound and outbound calls.

 6         5.       In January of 2021, World Vision had 898 employees, only 74 (or 8.2%)
 7
     of whom were DCS staff, and about 58 (or 6.5%) of whom handled such calls.
 8
           6.       DCSRs handle nearly all inbound and most outbound calls for World
 9
10   Vision.

11         7.       The 9-11 weeks of formal advance training for DCSRs is more than any

12   other advance training required of other World Vision employees.
13
           8.       Consequently, DCSRs represent a small but vital subset of all World
14
     Vision employees.
15

16

17         I am over the age of eighteen and am competent to give this Declaration. I
18
     declare under penalty of perjury under the laws of the United States and the State of
19
     Washington that the foregoing is true and correct.
20

21         SIGNED this 13th day of October 2023, at Seattle, Washington.

22

23
                                                     Shannon Osborne
24                                                  SHANNON OSBORNE
25
           [Separate Signature Page Attached]
26

27

       SECOND DECLARATION OF                   Page 2            Ellis | Li | McKinstry
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